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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


AMICA CENTER FOR IMMIGRANT RIGHTS,
et al.,

                Plaintiffs,

       v.                                                   Civil Action No. 1:25-cv-298-RDM

U.S. DEPARTMENT OF JUSTICE, et al.,

                Defendants


                  CERTIFIED INDEX OF ADMINISTRATIVE RECORD

       Pursuant to Local Rule 7(n)(1) and the Court’s Minute Order dated April 19, 2025,

Defendants hereby file the certified contents of the Administrative Record for the April 10, 2025

decision to terminate for the convenience of the government the following task orders for Contract

# 15JPSS22D00000013:

            •   15JPSS22F00000699 for Family Group Legal Orientation Program (FGLOP)

            •   15JPSS22F00000700 for Counsel for Children Initiative (CCI)

            •   15JPSS22F00000701 for Immigration Court Helpdesk (ICH)

            •   15JPSS23F00000154 for Legal Orientation Program (LOP) and Legal Orientation

                Program for Custodians (LOPC).



       The Certification of the Administrative Record is attached as Exhibit 1.               The

Administrative Record contains the following documents:




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BATES NUMBER                            DOCUMENT DESCRIPTION

 Admin. Rec. 1-2    Email, Subject: Exercise of the contracts options period of
                    performance (April 3, 2025)
 Admin. Rec. 3-5    Email, Subject: Acacia (April 3-4, 2025)

 Admin. Rec. 6      Email, Subject: Termination for Convenience (April 3-4, 2025)

 Admin. Rec. 7      Notice of Termination for Convenience (April 3, 2025)

 Admin. Rec. 8      Email, Subject: Acacia contract (April 3, 2025)

Admin. Rec. 9-10    Email, Subject: DOJ Outreach on Contract (April 4, 2025)

 Admin. Rec. 11     Email, Subject: DOJ Outreach on Contract (April 4, 2025)

 Admin. Rec. 12     Email, Subject: Termination for Convenience (April 3-4, 2025)

 Admin. Rec. 13     Letter, Subject: Rescission of April 3, 2025 Notice (April 4, 2025)

 Admin. Rec. 14     Email, Subject: Acacia Contract – Next Steps (April 7, 2025)

Admin. Rec. 15-16   Email, Subject: Acacia Wind-Down Recommendations (April 9,
                    2025)
 Admin. Rec. 17     Email, Subject: ACACIA Contracts (April 9, 2025)

Admin. Rec. 18-19   Email, Subject: Update on Meeting with JMD on Acacia Contract
                    (April 9, 2025)
Admin. Rec. 20-23   Email, Subject: ACACIA Contracts (April 9-10, 2025)

Admin. Rec. 24-28   Email, Subject: ACACIA Contracts (April 9-10, 2025)

 Admin. Rec. 29     Email, Subject: Notice of Termination - 15JPSS22D00000013 (April
                    10, 2025)
 Admin. Rec. 30     Letter, Subject: Contract # 15JPSS22D00000013 (April 10, 2025)

 Admin. Rec. 31     Email, Subject: 15JPSS22F00000699 Mod P00007 (April 16, 2025)

 Admin. Rec. 32     Contract Modification - 15JPSS22F00000699/P00007 (April 16,
                    2025)
 Admin. Rec. 33     Email, Subject: 15JPSS22F00000700 Mod P00006 (April 16, 2025)




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      Admin. Rec. 34     Contract Modification - 15JPSS22F00000700/P00006 (April 16,
                         2025)
      Admin. Rec. 35     Email, Subject: 15JPSS22F00000701 Mod P00009 (April 16, 2025)

      Admin. Rec. 36     Contract Modification - 15JPSS22F00000700/P00009 (April 16,
                         2025)
      Admin. Rec. 37     Email, Subject: 15JPSS23F00000154 Mod P00004 (April 16, 2025)

      Admin. Rec. 38     Contract Modification, 15JPSS22F00000700/P00004 (April 16,
                         2025)
     Admin. Rec. 39-41   Declaration of Sirce E. Owen (April 24, 2025)

    Admin. Rec. 42-117   Contract between Executive Office for Immigration Review and
                         Acacia Center for Justice – IDIQ 15JPSS22D00000013
   Admin. Rec. 118-145   Legal Orientation Program (LOP) and Legal Orientation Program for
                         Custodians (LOPC) Task Order– 15JPSS23F00000154/P00003
   Admin. Rec. 146-161   Immigration      Court      Helpdesk    (ICH)     Task    Order–
                         15JPSS22F00000701/P00008
   Admin. Rec. 162-178   Family Group Legal Orientation Program (FGLOP) Task Order –
                         15JPSS22F00000699/P00006
   Admin. Rec. 179-194   Counsel     for   Children Initiative (CCI)        Task   Order–
                         15JPSS22F00000700/P00005
   Admin. Rec. 195-199   FAR 52.249-2: Termination for Convenience of the Government
                         (Fixed-Price)
   Admin. Rec. 200-205   FAR 52.249-6: Termination (Cost-Reimbursement).




DATED: April 24, 2025                       Respectfully submitted,

                                            YAAKOV M. ROTH
                                            Acting Assistant Attorney General

                                            ANDREW I. WARDEN
                                            Assistant Director
                                            Federal Programs Branch

                                            /s/ Zachary W. Sherwood
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